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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                      Criminal No. 21-CR-399 (RDM)
       v.

ROMAN STERLINGOV,

                   Defendant.




                         MOTION TO WITHDRAW APPEARANCE

       Pursuant to Local Criminal Rule 44.5, James M. Koukios, counsel for non-parties

Chainalysis Inc., Michael Gronager, Jonathan Levin, and Youli Lee, moves to withdraw his

appearance in this case. William Frentzen, admitted pro hac vice on December 14, 2022, has

since been admitted to the U.S. District Court for the District of Columbia, and continues to

serve as counsel of record for the non-parties named above. The withdrawal of James M.

Koukios will not delay trial or be unfairly prejudicial to any party.

       Dated this 28th day of June, 2023.



                                              Respectfully submitted,

                                              MORRISON & FOERSTER LLP



                                              By:     /s/ James M. Koukios
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